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                                          SOU TH ER N DISTR ICT O F FLO R ID A

                                       CASE NO.21-20357-CR-M OORE/LOUIS(s)
               UN ITED STA TES O F A M ER ICA

               VS.



               JAY DEN D AR O SA ,

                             D efendant.
                                                    /                              .

                                                   FA CT U AI,PR O FFER

                      TheUnitedStatesofAmerica,JaydenDarosa(lr efendanf),atldtheDefendant'scotmsel,
               agree that,had this case gone to trial,the U nited States w ould have proven the follow ing facts,

               am ong others,occun'
                                  ed in M iam i-Dade Cotmty,in theSouthern DistrictofFlotidaatld elsewhere,

               beyond areasonable doubt,and thatsuch factsr esuffcientto establish theDefendant'sguiltas

               totheoffensescharged in thelndictment.

                      From or arotm d A ugust 2020 or eadier and continuing to atleastN ovem ber of 2020 or

               later, JAY DEN D AR O SA conspired w ith m em bers of a group consisting of LON TRELL

               W ILLIAM S,JR.,BOBBY BROW N,and otherstouseorcany firenrmsduring and in relation to,

               andto possessfirearmsin furtheranceof,drug trafficldng crimesand crim esofviolence.

                      On October9,2021 in B ay H arborlslands,Florida,D AR O SA ,BRO W N ,W ILLIA M S,.
                                                                                                      JR .

               andotherassociatesarrivedatameetingtoacquiremarijuana,codeine,andsneakersfrom Victhn
               1and Victim 2.

                      Dlzring thetransaction ofdrugsand sneakersthattook place atthismeeting,m embersof

               thegroup brandished firenrmsand shotVictim s 1and 2,forcibly talcing thevictims'codeine and

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     sneakers.Followingtheassault,thegroupdepartedthescenewiththevictims'marijuana,codeine,
     and sneakersw ithoutpaying forthe item s.

            The factsdescribed above arenotintendedto be acompleterecitation ofthe factsofthis

     caseandarem erely intended to form abasisfortheDefendant'sknowing,willful,andintentional

     pleaofguilty.



                                        Jur AN TON IO GON ZALEZ
                                        > 1 ED STA TES ATTORN EY

     Date:l2/Alt!                By:                         * % :34 ûY               .


                                        IGNACIO J.VAZQUEZ,JR.
                                        A SSISTA N T UN ITED STA TES ATTORN EY

     Date: u            /        sy,    -
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                                        A TTORN EY FOR D EFEN DA N T

     oate:tw/g/z t               By:
                                        JA YD EN DA RO SA
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